         Case 7:23-cv-08119-NSR Document 12 Filed 11/13/23 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                    11/13/2023
 EIRA FOLLMAN,

                                  Plaintiff,
                                                                  23-cv-8119 (NSR)
                      -against-
                                                                       ORDER
 LEXISNEXIS RISK SOLUTIONS, INC.,

                                  Defendant.

NELSON S. ROMÁN, United States District Judge:

       Defendant LexisNexis Risk Solutions, Inc. (“Defendant”) has filed a Verified Answer,

dated November 10, 2023 (ECF No. 11), to Plaintiff Eira Follman’s (“Plaintiff”) Complaint, dated

September 14, 2023 (ECF No. 1). Thus, the Court waives the Initial Pre-Trial Conference

requirement and directs the parties to submit a proposed Case Management Plan and Scheduling

Order (blank form attached hereto) by December 4, 2023. After review and approval of the

Scheduling Order, the Court will issue an Order of Reference to Magistrate Judge Andrew E.

Krause for general pretrial purposes. The parties are directed to contact Judge Krause within seven

(7) business days of the date of the Order of Reference to schedule a conference.


                                                        SO ORDERED.
Dated: November 13, 2023
       White Plains, New York

                                                     ______________________
                                                     Nelson S. Román, U.S.D.J.
             Case 7:23-cv-08119-NSR Document 12 Filed 11/13/23 Page 2 of 3




UNITED STATES DISTRICT COURT                                                   Rev. May 2014
SOUTHERN DISTRICT OF NEW YORK
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                                                                  CIVIL CASE DISCOVERY PLAN
                                            Plaintiff(s),         AND SCHEDULING ORDER
                 - against -


                                             Defendant(s).               CV                    (NSR)

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       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

        1.       All parties [consent] [do not consent] to conducting all further proceedings before
                 a Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c).
                 The parties are free to withhold consent without adverse substantive consequences.
                 (If all parties consent, the remaining paragraphs of this form need not be
                 completed.)

        2.       This case [is] [is not] to be tried to a jury.

        3.       Joinder of additional parties must be accomplished by ______________________.

        4.       Amended pleadings may be filed until _____________________. Any party
                 seeking to amend its pleadings after that date must seek leave of court via motion.

        5.       Interrogatories shall be served no later than ___________________, and responses
                 thereto shall be served within thirty (30) days thereafter. The provisions of Local
                 Civil Rule 33.3 [shall] [shall not] apply to this case.

        6.       First request for production of documents, if any, shall be served no later than
                 ____________________.

        7.       Non-expert depositions shall be completed by ____________________________.

                 a.       Unless counsel agree otherwise or the Court so orders, depositions shall not
                          be held until all parties have responded to any first requests for production
                          of documents.

                 b.       Depositions shall proceed concurrently.

                 c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
           Case 7:23-cv-08119-NSR Document 12 Filed 11/13/23 Page 3 of 3




                      non-party depositions shall follow party depositions.

      8.      Any further interrogatories, including expert interrogatories, shall be served no
              later than _______________________.

      9.      Requests to Admit, if any, shall be served no later than
              ______________________.

      10.     Expert reports shall be served no later than ______________________.

      11.     Rebuttal expert reports shall be served no later than ______________________.

      12.     Expert depositions shall be completed by ______________________.

      13.     Additional provisions agreed upon by counsel are attached hereto and made a part
              hereof.

      14.     ALL DISCOVERY SHALL BE COMPLETED BY ______________________.

      15.     Any motions shall be filed in accordance with the Court’s Individual Practices.

      16.     This Civil Case Discovery Plan and Scheduling Order may not be changed without
              leave of Court (or the assigned Magistrate Judge acting under a specific order of
              reference).

      17.     The Magistrate Judge assigned to this case is the Hon.                                   .

      18.     If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
              the Magistrate Judge will schedule a date certain for trial and will, if necessary,
              amend this Order consistent therewith.

      19.     The next case management conference is scheduled for _____________________,
              at ____________. (The Court will set this date at the initial conference.)


SO ORDERED.
Dated:
White Plains, New York




                                                              Nelson S. Román, U.S. District Judge
